OAO 247 (NC/W 03/08) Order Regarding Motion for Sentence Reduction


                                    UNITED STATES DISTRICT COURT
                                                                     for the
                                                      Western District of North Carolina

                   United States of America                            )
                              v.                                       )
                                                                       )   Case No: 3;96CR123-1
                        MICHAEL JONES
                                                                       )   USM No: 12694-058
Date of Previous Judgment: May 29, 1997                                )   Pro Se
(Use Date of Last Amended Judgment if Applicable)                      )   Defendant’s Attorney

                  Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.     GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of               months is reduced to                            .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    43                 Amended Offense Level:                                       43
Criminal History Category: VI                 Criminal History Category:                                   VI
Previous Guideline Range: Life to Life months Amended Guideline Range:                                     Life      to Life   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):   No reduction, as there is no change in the base offense level or guideline range. Counts One and
                     Three were grouped under §3D1.2(d) based on aggregate amounts. Multiple Count Adjustments
                     were used in Counts One, Three, and Seven under §3D1.4; wherein, a base offense level of 43 was
                     the revised total offense level after applying Amendment 706 (based on the application of §2A1.1 as
                     in the original presentence report).
III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated May 29, 1997,                      shall remain in effect.
IT IS SO ORDERED.

Order Date:        September 8, 2009


Effective Date:
                     (if different from order date)



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